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     Attorney for Defendant
 5   JANA CATHERINE BRODDIE
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 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            ) Case No.: 1:12-CR-40 LJO
                                          )
12                     Plaintiff,         ) STIPULATION TO CONTINUE
                                          )
13                                        ) SENTENCING AND EXCLUDE TIME
     vs.                                  ) PERIODS UNDER SPEEDY TRIAL ACT;
14                                        ) FINDINGS AND ORDER
     JANA CATHERINE BRODDIE,              )
15                                        )
                                          )
                       Defendant          )
16
                                          )
17
                       STIPULATION TO CONTINUE SENTENCING
18                 AND TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT
19         Defendant, by and through his counsel, Robert L. Forkner
20
     and Plaintiff, United States of America, by and through its
21
     counsel of record Assistant United States Attorney KATHLEEN ANNE
22
     SERVATIUS, hereby stipulate as follows:
23

24         1.    By previous order, this matter was set for sentencing

25   on September 30, 2013.
26
           2.    By this stipulation, defendant now moves to continue
27
     the sentencing until November 18, 2013 and to exclude time
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                                STIPULATION AND PROPOSED ORDER

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 1   between September 30, 2012 and November 18, 2013 under Local
 2
     Code T4 and 18 U.S.C. § 3161.      Plaintiff does not object to this
 3
     request.
 4
         3.     The parties agree and stipulate, and request that the
 5

 6   Court find the following:

 7       a.     The United States Probation Officer has not submitted
 8
     a revised Presentencing Report or response to defendant’s
 9
     sentencing memorandum.
10
         b.     Counsel for defendant inadvertently failed to give the
11

12   United States Probation Officer informal objections and the

13   opportunity to respond to the defendant’s objections.          Counsel
14
     for the defendant desires additional time to allow the probation
15
     officer and plaintiff time to respond to the defendant’s
16
     sentencing memorandum and time to consult with his client once
17

18   the responses are filed.

19       c.     The defendant believes that failure to grant the
20
     above-requested continuance would deny the defendant the
21
     reasonable time necessary for effective preparation, taking into
22
     account the exercise of due diligence.
23

24       d.     The government stipulates to the continuance.

25       e.     Based on the above-stated findings, the ends of
26
     justice served by continuing the case as requested outweigh the
27
     interest of the public and the defendant in a trial within the
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                              STIPULATION AND PROPOSED ORDER

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 1   original date prescribed by the Speedy Trial Act.
 2
         f.    For the purpose of computing time under the Speedy
 3
     Trial Act, 18 U.S.C. § 3161, et seq., within which trial must
 4
     commence, the time period of September 30, 2013 to November 18,
 5

 6   2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§

 7   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
 8
     continuance granted by the Court at defendant’s request on the
 9
     basis of the Court's finding that the ends of justice served by
10
     taking such action outweigh the best interest of the public and
11

12   the defendant in a speedy trial.

13       4.    Nothing in this stipulation and order shall preclude a
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     finding that other provisions of the Speedy Trial Act dictate
15
     that additional time periods are excludable from the period
16
     within which a trial must commence.
17

18   IT IS SO STIPULATED.

19

20
     DATED:    September 24, 2013
21

22                               /s/ Robert L. Forkner___________
                                 ROBERT FORKNER
23                               Attorney for the Defendant

24
     DATED:    September 24, 2013
25

26                               /s/ KATHLEEN ANNE SERVATIUS____
                                 KATHLEEN ANNE SERVATIUS
27                               Assistant United States Attorney
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                              STIPULATION AND PROPOSED ORDER

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                                                      O R D E R

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 9                         IT IS SO ORDERED.
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                                       Dated:   September 25, 2013       /s/ Lawrence J. O’Neill
11   DEAC_Signature-END:
                                                            UNITED STATES DISTRICT JUDGE
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     b9ed48bb
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                                                STIPULATION AND PROPOSED ORDER

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